      Case 2:11-cv-00084 Document 1406 Filed on 09/01/23 in TXSD Page 1 of 1
                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                     September 01, 2023
                          UNITED STATES DISTRICT COURT
                                                                                      Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION


M.D., et al.,                                   §
         Plaintiffs,                            §
                                                §
VS.                                             §       CIVIL ACTION NO. 2:11-CV-00084
                                                §
GREG ABBOTT, et al.,                            §
      Defendants.                               §

ORDER MODIFYING ORIGINAL ORDER GRANTING IN PART PLAINTIFFS’
    THIRD APPLICATION FOR ATTORNEY’S FEES AND EXPENSES

   Defendants have moved that the Court modify its original Order Granting in Part Plaintiffs’

Third Application for Attorneys’ Fees and Expenses. Plaintiffs are unopposed. The Court is of the

opinion that the motion should be GRANTED.

   It is hereby ORDERED that the Order Granting in Part Class Plaintiffs’ Third Application for

Attorney’s Fees and Expenses, Dkt. 1398, is modified on page 10 to provide that Defendants shall

pay the amounts due by October 9, 2023.

   To the extent that there are any inconsistencies between the Court’s original Order, Dkt. 1398,

and this Order on the deadline to remit payment, this Order governs.

   SIGNED and ORDERED on September 1, 2023.


                                                     _________________________________
                                                     Janis Graham Jack
                                                     Senior United States District Judge




1/1
